                                                                                                                              Case 2:22-cv-00861-JAD-VCF Document 23 Filed 07/06/22 Page 1 of 3



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                                                                                                                              Attorneys for Enzolytics, Inc.
                                                                                                                         12
                    1980 FESTIVAL PLAZA DRIVE, SUITE 900




                                                                                                                                                      UNITED STATES DISTRICT COURT
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                                                           LAS VEGAS, NEVADA 89135
                                                                                     (702) 471-7000 FAX (702) 471-7070
BALLARD SPAHR LLP




                                                                                                                                                               DISTRICT OF NEVADA
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                                                                                                                              DIMITAR SAVOV, an individual                    Case No. 2:22-cv-00861-JAD-VCF
                                                                                                                         15
                                                                                                                                      Plaintiff,                                       NOTICE OF
                                                                                                                         16                                                       DISASSOCIATION AND
                                                                                                                                                                                  MOTION TO WITHDRAW
                                                                                                                         17   v.
                                                                                                                         18
                                                                                                                              EMPIRE STOCK TRANSFER, INC.
                                                                                                                         19
                                                                                                                                      Defendant.
                                                                                                                         20

                                                                                                                         21           Maria A. Gall, Esq. of the law firm Ballard Spahr LLP notifies all parties,

                                                                                                                         22   their counsel, and the court that effective on Friday, July 8, 2022, she will no longer

                                                                                                                         23   be associated with Ballard Spahr LLP, and thus asks the court to allow her to

                                                                                                                         24   withdraw as proposed intervenor Enzolytics, Inc.’s counsel of record and to remove

                                                                                                                         25   her from the ECF service and notification list. Joel E. Tasca, Esq. of Ballard Spahr

                                                                                                                         26   LLP remains Enzolytics, Inc.’s counsel of record.

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                                                                                                                              DMFIRM #403092293 v1
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                                                                                                                         1            Dated: July 5, 2022
                                                                                                                         2                                       BALLARD SPAHR LLP
                                                                                                                         3                                       By: /s/ Maria A. Gall
                                                                                                                                                                     Joel E. Tasca, Esq.
                                                                                                                         4                                           Nevada Bar No. 14124
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                                                                                                                         6                                           Las Vegas, Nevada 89135
                                                                                                                         7                                       Attorneys for Enzolytics, Inc.
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                    1980 FESTIVAL PLAZA DRIVE, SUITE 900




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                                                           LAS VEGAS, NEVADA 89135
                                                                                     (702) 471-7000 FAX (702) 471-7070




                                                                                                                                                                            IT IS SO ORDERED.
BALLARD SPAHR LLP




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                                                                                                                         15                                                 ______________________________
                                                                                                                                                                            Cam Ferenbach
                                                                                                                         16                                                 United States Magistrate Judge
                                                                                                                                                                                     7-6-2022
                                                                                                                         17                                                 DATED ________________________

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                                                                                                                         1                                  CERTIFICATE OF SERVICE
                                                                                                                         2            I hereby certify that on July 5, 2022, a true and correct of copy of the foregoing
                                                                                                                         3    NOTICE OF DISASSOCIATION AND MOTION TO WITHDRAW was served upon
                                                                                                                         4    each of the parties via electronic service through the United States District Court for
                                                                                                                         5    the District of Nevada’s CM/ECF filing system.
                                                                                                                         6

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                                                                                                                                                                          /s/ Adam Crawford
                                                                                                                         8                                                An Employee of Ballard Spahr LLP
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